Case 8:19-cv-00621-DMG-DFM Document 107-1 Filed 08/23/21 Page 1 of 7 Page ID #:595




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 8                         UNITED STATES DISTRICT COURT
 9                       CENTRAL DISTRICT OF CALIFORNIA
10                               WESTERN DIVISION
11
   IN RE BANC OF CALIFORNIA,              )   Lead Case No. 8:19-cv-621-DMG-DFMx
12 INC. STOCKHOLDER                       )
   DERIVATIVE LITIGATION                  )   (Consolidated with Case Nos. 19-cv-
13                                        )   1152 and 19-cv-05488)
14                                        )
     This Document Relates To:            )   [PROPOSED] PRELIMINARY
15                                        )   APPROVAL ORDER
         ALL ACTIONS.                     )
16                                        )   Date:       September 24, 2021
                                          )   Time:       9:30 a.m.
17                                        )   Judge:      Hon. Dolly M. Gee
                                          )   Ctrm:       8C, 8th Floor
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Case 8:19-cv-00621-DMG-DFM Document 107-1 Filed 08/23/21 Page 2 of 7 Page ID #:596




 1         This matter came before the Court for a hearing on September 24, 2021. Plaintiffs
 2 have made an unopposed motion, pursuant to Rule 23.1 of the Federal Rules of Civil
 3 Procedure, for an order: (i) preliminarily approving the proposed settlement ("Settlement")
 4 of shareholder derivative claims, in accordance with the Stipulation of Settlement dated
 5 August 20, 2021 (the "Stipulation"); and (ii) approving the form and manner of the Notice
 6 of the Settlement. 1
 7         WHEREAS, the Stipulation sets forth the terms and conditions for the Settlement,
 8 including, but not limited to, a proposed Settlement and dismissal of the above-captioned
 9 stockholder derivative action, titled In re Banc of California, Inc. Stockholder Derivative
10 Litigation, Lead Case No. 8:19-cv-621-DMG-DFMx (the "Action"), with prejudice;
11         WHEREAS, the Court having: (i) read and considered Plaintiffs' Unopposed Motion
12 for Preliminary Approval of Stockholder Derivative Settlement together with the
13 accompanying Memorandum of Points and Authorities; (ii) read and considered the
14 Stipulation, as well as all the exhibits attached thereto; and (iii) heard and considered
15 arguments by counsel for the Parties in favor of preliminary approval of the Settlement;
16         WHEREAS, the Court finds, upon a preliminary evaluation, that the proposed
17 Settlement falls within the range of possible approval criteria, as it provides a beneficial
18 result for Banc of California, Inc. ("Banc") and appears to be the product of serious,
19 informed, non-collusive negotiations; and
20         WHEREAS, the Court also finds, upon a preliminary evaluation, that Banc
21 stockholders should be apprised of the Settlement through the proposed form of notice,
22 allowed to file objections, if any, thereto, and appear at the Settlement Hearing.
23         NOW, THEREFORE, IT IS HEREBY ORDERED, ADJUDGED, AND DECREED
24 AS FOLLOWS:
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     Except as otherwise expressly provided below or as the context otherwise requires, all
28 capitalized terms contained herein shall have the same meanings and/or definitions as set
   forth in the Stipulation.
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Case 8:19-cv-00621-DMG-DFM Document 107-1 Filed 08/23/21 Page 3 of 7 Page ID #:597




 1         1.    This Court, for purposes of this Preliminary Approval Order, adopts the
 2 definitions set forth in the Stipulation.
 3         2.    This Court preliminarily approves, subject to further consideration at the
 4 Settlement Hearing described below, the Settlement as set forth in the Stipulation as being
 5 fair, reasonable, and adequate.
 6         3.    A hearing shall be held on _______________, 2021 at ____ _.m., before the
 7 Honorable Dolly M. Gee, at the U.S. District Court for the Central District of California,
 8 United States Courthouse, 350 West 1st Street, Courtroom 8C, 8th Floor, Los Angeles,
 9 California 92701 (the "Settlement Hearing"), at which the Court will determine: (i) whether
10 the terms of the Stipulation should be approved as fair, reasonable, and adequate; (ii)
11 whether the Notice fully satisfies the requirements of Rule 23.1 of the Federal Rule of Civil
12 Procedure and the requirements of due process; (iii) whether all Released Claims should
13 be fully and finally released; (iv) the amount of attorneys' fees and expenses to be paid to
14 Plaintiffs' Counsel; and (v) such other matters as the Court may deem appropriate.
15         4.    The Court finds that the form, substance, and dissemination of information
16 regarding the proposed Settlement in the manner set out in this Preliminary Approval Order
17 constitutes the best notice practicable under the circumstances and complies fully with Rule
18 23.1 of the Federal Rules of Civil Procedure and due process.
19         5.    Within ten (10) business days after the entry of this Preliminary Approval
20 Order, Banc shall cause the Stipulation of Settlement and Notice to be filed with the SEC
21 along with an SEC Form 8-K or other appropriate filing, and Banc shall publish the
22 Summary Notice one time in the national edition of Investors’ Business Daily. Banc shall
23 also publish the SEC filing with attachments on the Company's website until the judgment
24 becomes Final.
25         6.    All costs incurred in the filing and publication of the Notice and Summary
26 Notice shall be paid by Banc or its insurance carriers, and Banc shall undertake all
27 administrative responsibility for the filing and publication of the Notice and Summary
28 Notice.
                                               -2-
Case 8:19-cv-00621-DMG-DFM Document 107-1 Filed 08/23/21 Page 4 of 7 Page ID #:598




 1         7.     At least forty-five (45) calendar days prior to the Settlement Hearing,
 2 Defendants' Counsel shall file with the Court an appropriate affidavit or declaration with
 3 respect to filing, publishing, and posting the Notice and Summary Notice as provided for
 4 in paragraph 5 of this Preliminary Approval Order.
 5         8.     All Banc stockholders shall be subject to and bound by the provisions of the
 6 Stipulation and the releases contained therein, and by all orders, determinations, and
 7 judgments in the Action concerning the Settlement, whether favorable or unfavorable to
 8 Banc stockholders.
 9         9.     Pending final determination of whether the Settlement should be approved,
10 Plaintiffs and Banc stockholders shall not commence or prosecute against any of the
11 Released Persons any action or proceeding in any court or tribunal asserting any of the
12 Released Claims.
13         10.    Any Banc stockholder who owned Banc common stock as of the Execution
14 Date of the Stipulation and who continues to hold their Banc common stock as of the date
15 of the Settlement Hearing may appear and show cause, if he, she, or it has any reason why
16 the Settlement embodied in the Stipulation should not be approved as fair, reasonable, and
17 adequate, or why a judgment should or should not be entered hereon, or the requested fees
18 and expenses or service awards should not be awarded. However, no Banc stockholder
19 shall be heard or entitled to contest the approval of the proposed Settlement, or, if approved,
20 the Judgment to be entered hereon, unless that Banc stockholder has caused to be filed, and
21 served on counsel as noted below, written objections which: (i) state the name, address,
22 and telephone number of the objector and, if represented by counsel, the name, address,
23 and telephone number of the objector's counsel; (ii) are signed by the objector; (iii) contain
24 a specific, written statement of the objection(s) and the specific reason(s) for the
25 objection(s), including any legal and evidentiary support the objector wishes to bring to the
26 Court’s attention, and if the objector has indicated that he, she, or it intends to appear at the
27 Settlement Hearing, the identity of any witnesses the objector may call to testify and any
28 exhibits the objector intends to introduce into evidence at the hearing; and (iv) include
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Case 8:19-cv-00621-DMG-DFM Document 107-1 Filed 08/23/21 Page 5 of 7 Page ID #:599




 1 documentation sufficient to show that the objector owned shares of Banc common stock as
 2 of August 20, 2021, and contain a statement that the objector continues to hold such shares
 3 as of the date of filing of the objection and will continue to hold those shares as of the date
 4 of the Settlement Hearing.
 5         11.   At least twenty-one (21) calendar days prior to the Settlement Hearing set for
 6 _____________, 2021, any such person must file the written objection(s) and
 7 corresponding materials with the Clerk of the Court, U.S. District Court for the Central
 8 District of California, United States Courthouse, 350 West 1st Street, Courtroom 8C, 8th
 9 Floor, Los Angeles, California 92701, and serve such materials by that date, to each of the
10 following Parties' counsel:
11
          Counsel for Plaintiffs:                 Counsel for Defendants:
12
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Case 8:19-cv-00621-DMG-DFM Document 107-1 Filed 08/23/21 Page 6 of 7 Page ID #:600




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 9                                                         rtiefenbrun@jonesday.com
10                                                Counsel for Defendants Robert D.
                                                  Sznewajs, Jonah F. Schnel, Halle J.
11                                                Benett, Richard J. Lashley, Douglas
12                                                Bowers, and Jeffrey Karish

13         12.   Only stockholders who have filed with the Court and sent to the Parties'
14 counsel valid and timely written notices of objection will be entitled to be heard at the
15 hearing unless the Court orders otherwise.
16         13.   Any Person or entity who fails to appear or object in the manner provided
17 herein shall be deemed to have waived such objection and shall forever be foreclosed from
18 making any objection to the fairness, reasonableness, or adequacy of the Settlement, the
19 attorneys' fees and expenses awarded, and/or any service awards to Plaintiffs, unless
20 otherwise ordered by the Court, but shall be forever bound by the Judgment to be entered
21 and the releases to be given as set forth in the Stipulation.
22         14.   Plaintiffs shall file their motion for final approval of the Settlement and the
23 requested attorneys' fees and expenses at least forty-two (42) calendar days prior to the
24 Settlement Hearing. Defendants shall file and serve papers, if any, in opposition to the
25 requested attorneys' fees and expenses at least twenty-one (21) days prior to the Settlement
26 Hearing. Plaintiffs shall file a response to any opposition and/or objection(s) at least seven
27 (7) calendar days prior to the Settlement Hearing.
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Case 8:19-cv-00621-DMG-DFM Document 107-1 Filed 08/23/21 Page 7 of 7 Page ID #:601




 1             15.   All proceedings in the Action are stayed until further order of the Court,
 2 except as may be necessary to implement the Settlement or comply with the terms of this
 3 Stipulation.
 4             16.   This Court may, for good cause, extend any of the deadlines set forth in this
 5 Preliminary Approval Order without further notice to Banc stockholders.
 6             17.   Neither the Stipulation nor the Settlement, nor any act performed or document
 7 executed pursuant to or in furtherance of the Stipulation or the Settlement: (i) is or may be
 8 deemed to be or may be offered, attempted to be offered or used in any way by the Parties
 9 or any other Person as a presumption, a concession or an admission of, or evidence of, any
10 fault, wrongdoing or liability of the Parties or Released Persons, or of the validity of any
11 Released Claims; or (ii) is intended by the Parties to be offered or received as evidence or
12 used by any other person in any other actions or proceedings, whether civil, criminal, or
13 administrative, other than to enforce the terms therein.
14             18.   The Court reserves: (i) the right to approve the Settlement, with such
15 modifications as may be agreed to by counsel for the Parties consistent with such
16 Settlement, without further notice to Banc stockholders; and (ii) the right to continue or
17 adjourn the Settlement Hearing from time to time or by oral announcement at the hearing
18 or at any adjournment thereof, without further notice to Banc stockholders.
19             IT IS SO ORDERED.
20
21    DATED:
22                                              HONORABLE DOLLY M. GEE
                                                U.S. DISTRICT JUDGE
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